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                                                                         CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
                                                                         BY gonzalez DEPUTY CLERK




                 UNITED STATES BANKRUPTCY COURT
        CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION
    In re:       Jinzheng Group (USA) LLC,            Case No.: 2:21-bk-16674-ER
                 Debtor.                              Chapter: 11
                                                      AMENDED1 ORDER CONTINUING
                                                      HEARING ON MOTION FOR RELIEF
                                                      FROM THE AUTOMATIC STAY FROM
                                                      NOVEMBER 14, 2022 AT 10:00 A.M. TO
                                                      NOVEMBER 15, 2022 AT 11:00 A.M., TO
                                                      TAKE PLACE CONCURRENTLY WITH
                                                      THE HEARING ON THE DEBTOR’S
                                                      SALE MOTION
                                                      CONTINUED HEARING:

                                                      Date:       November 15, 2022
                                                      Time:       11:00 a.m.
                                                      Location:   Courtroom 1568
                                                                  Roybal Federal Building
                                                                  255 East Temple Street
                                                                  Los Angeles, CA 90012

      Good cause appearing therefor, the Court HEREBY ORDERS AS FOLLOWS:

             1) The hearing on the Motion for Relief from the Automatic Stay Under § 362 [Doc.
                Nos. 395–96] (the “RFS Motion”) is CONTINUED from November 14, 2022 at
                10:00 a.m. to November 15, 2022 at 11:00 a.m., so that the hearing may take place
                concurrently with the hearing on the Debtor’s Motion to Authorize Sale of Real
                Property Located at 150 East La Sierra Drive, Arcadia, California 91006, Free and
                Clear of Liens [Doc. No. 420].

1
 Amended solely to provide that the continued hearing on the RFS Motion will take place at
11:00 a.m. on November 15, 2022 (not at 10:00 a.m.).
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      2) Parties may appear at the November 15, 2022 hearings either in-person or by
         telephone. The use of face masks in the courtroom is optional. Parties electing to
         appear by telephone should contact CourtCall at 888-882-6878 no later than one hour
         before the hearing.

   IT IS SO ORDERED.
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    Date: November 9, 2022
